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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
        Plaintiff,                         )
                                           )
vs.                                        ) Case No.: 4:16-cr-159-AGF
                                           )
LOREN A. COPP,                             )
                                           )
        Defendant.                         )


                              DEFENDANT’S FINAL EXHIBIT LIST

        COMES NOW Defendant Loren Copp, pro se, and hereby provides the following list of

exhibits admitted at trial.

C.              Google Street view of 4300 Neosho
D.              Map of Area of Morgan Ford and Neosho
HH.             Image of Office, Desk with Hard Drives
II.             Image of Hard Drives and Bills
NN.             Image through hole in wall to bathroom
OO.             Image through hole in wall to bathroom
PP.             Image through hole in wall to bathroom
QQ.             Image through hole in wall to bathroom
RR.             Image through hole in wall to bathroom
SS.             Image through hole in wall to bathroom
IIII.           Copp Family Photo
JJJJ.           Copp Family Photo
KKKK.           Copp Family Photo
NNNN.           Picture of Milk Expiration Date
OOOO.           Picture of Hotdogs
PPPP.           Picture of Black Suburban
QQQQ.           Picture of License Plate
RRRR-2.         June 27, 2014 JD 1 Post
RRRR-3.         November 27, 2014 JD 1 Post
RRRR-5.         June 5, 2017 JD 1 Post
RRRR-6.         May 14, JD 1 Post
RRRR-7.         June 21, JD 1 Post
RRRR-8.         October 25, 2014 Post JD 1
RRRR-9.         June 5, 2014 Post JD 1
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RRRR-10.            August 29, 2014 Post “hacked”
RRRR-11.            May 11, 2014 Post JD1
RRRR-12.            July 23, 2014 JD 3 “Hacked”
RRRR-13.            June 8, 2013 JD 3 Breakfast
RRRR-14.            October 27, 2014 “Fridays”
TTTT.               Video of 4601 Morgan Ford, Copp
WWWW.               Image of Letter from Captain Steven Mueller
YYYY.               Greg Chatten CV
BBBBB.              Picture of Copp’s Anatomy (pursuant to offer of proof)
DDDDD.              Prescription
EEEEE.              Mercy Bill
FFFFF.              DFS Letter
GGGGG.              FBI Image, Electronics on Lectern
HHHHH.              Food Establishment Inspection Report
IIIII.              FBI Image, Kitchen
JJJJJ.              FBI Image, Crawlspace, Exposed
MMMMM.              Remote Access Spreadsheets


                                                                Respectfully submitted,
                                                                /s/ Loren Copp
                                                                Defendant, Pro Se 1




1
    Per Defendant’s request, this document is filed and served to opposing counsel by standby counsel.
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          ) Case No.: 4:16-cr-159-AGF
                                             )
LOREN A. COPP,                               )
                                             )
       Defendant.                            )


                                CERTIFICATE OF SERVICE


        I hereby certify that on April 23, 2018, and at the request of Defendant Loren Copp, the
foregoing was electronically filed with the Clerk of the Court to be served by operation of the
Court’s electronic filing system upon Ms. Colleen C. Lang and Ms. Jennifer A. Winfield,
assistant United States attorneys.


DEFENDANT’S FINAL EXHIBIT LIST


                                             ROSENBLUM, SCHWARTZ & FRY, PC




                                     By:     /s/ Nathan T. Swanson
                                             NATHAN T. SWANSON, #62615MO
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                                             Clayton, Missouri 63105
                                             (314) 862-4332/Facsimile (314)862-8050
